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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS
 INTEGRATED TECHNOLOGY           |
 SOLUTIONS LLC,                  |
                                 |
      Plaintiff,                 |       Case No: 21-11477
                                 |
 vs.                             |       PATENT CASE
                                 |
 IRACING.COM MOTORSPORT          |
 SIMULATIONS, LLC                |
                                 |
      Defendant                  |


                                    ORIGINAL COMPLAINT

       Pursuant    to    F.R.C.P.    15(a)(1)(B),   Plaintiff   INTEGRATED        TECHNOLOGY

SOLUTIONS, LLC (“Plaintiff” or “ITS”) files this Original Complaint against IRACING.COM

MOTORSPORT SIMULATIONS, LLC (“Defendant” or “iRacing”) for infringement of United

States Patent No. 10,046,241 (hereinafter “the ‘241 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes, 35 U.S.C. §§ 271, et seq.

       3.      Plaintiff is a Wyoming limited liability company having an address of 1712 Pioneer

Ave Ste 500 Cheyenne, WY 82001.

       4.      On information and belief, Defendant is a Deleware limited liability company

having a principal place of business at 300 Apollo Drive Chelmsford, MA 01824 USA. On
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information and belief, Defendant may be served through its legal department at the same address

or by its registered agent, C T Corporation System, 155 Federal Street, Ste 700, Boston, MA,

02110.

         5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

         6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                                 VENUE

         7.       Venue is proper in this District 28 U.S.C. §1400(b) because Defendant is deemed

to reside in this District. Alternatively, acts of infringement are occurring in this District and

Defendant has a regular and established place of business in this District.

                                              BACKGROUND

         8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

The Patent:

         9.       Plaintiff is the owner by assignment of the ‘241 Patent with sole rights to enforce

the ‘241 Patent and sue infringers.

         10.      A copy of the ‘241 Patent, titled “Output Production,” is attached hereto as

Exhibit A.

         11.      The ‘241 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

         12.      The invention is directed to a system whereby an analysis component of the
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system analyzes a data set to produce a production component which is then used to render

output in a stored computer-readable medium.

           13.      The invention may be manifested as an in-game modifier for racetrack

videogames whereby evaluations of simulated environmental conditions change the

performance of the track during game play.

Advantage Over the Prior Art:

           14.      The patented invention disclosed in the ‘241 patent provides many advantages over

the prior art and may be utilized to provide a gaming race simulation whereby a simulated track and

interactions therewith are modified based in part upon prior player activity.

           15.      Another advantage disclosed in the ‘241 patent is that the gaming race simulation

modifies the simulated track and interactions therewith based in part upon simulated environmental

factors.

           16.      Yet another advantage disclosed in the ‘241 patent is that the gaming race

simulation may utilize simulated environmental factors to effect modifications based upon prior

player activity.

           17.      Because of at least the above-described significant advantages that can be achieved

through the use of the patented invention, Plaintiff believes that the ’241 patent presents commercial

value for entities such as Defendant.

Technological Innovation:

           18.      The patented invention disclosed in the and ‘241 patent resolves technical problems

related to computerized gaming simulations, particularly in systems providing a more realistic

simulation. As the ‘241 patent explains, it was known in the art how one may typically play a

simulation video game. (‘241 patent at 1:12-19). Typically, a user would utilize a game controller to

input various decisions and movement vectors into a game console which would then render the
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received directions and create an output display. The user could then compete in different scenarios

and simulations, often against other players.

        19.      Although these prior games were useful in providing entertainment and friendly

competition to the users, the services were typically limited in what actions of a player could cause

changes could occur in the game. While simulations have become more and more realistic over time,

there was still a particular limit in the level of detail in which changes could be calculated and

implemented with a game environment. As such, there a continued need for a gaming system or

method to allow the user to experience a more realistic simulation.

        20.      The invention described in the ‘241 patent offers an improved method for outputting

game modifications within a simulation. (‘241 patent at 1:23-36). The patented invention improved

upon earlier services and methods of the prior art by providing a system, at least being partially

hardware, having an identification component for a game play area, a check component to determine

the effect of a player action, and a modification component to alter game play area for later use

during the simulation. In particular, the patented invention describes the invention in the context of

an automotive racing simulation whereby the identifying component identifies discrete sections of

track, the check component determines effects players actions may have on the discrete sections of

track, and the modification component changes the performance parameters of that discrete track

section, usually by placing a tire remnant on the discrete track section.

        21.      The invention described in the ‘241 patent further offers yet another improved

method for outputting game modifications within a simulation. (‘241 patent at 1:60 – 2:3). The still

further improved embodiment of the invention also includes a temperature identifying component

whereby the changes in the temperatures of each discrete track section are utilized to modify game

performance based upon the temperature of each discrete track section. Of particular note is the

change in temperatures of different track sections may alter the determination component and will
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cause different results in the check component and the modification component.

        22.      The claims of the ’241 patent do not merely recite the performance of some business

practice known from the pre-Internet world along with the requirement to perform it on the Internet.

Instead, the claims of the ’241 patent recite one or more inventive concepts that are rooted in

computerized gaming simulations and overcome problems specifically arising in the realm of these

technologies.

        23.      The claims of the ‘241 patent recite an invention that is not merely the routine or

conventional use of computerized navigation technology. Instead, the invention makes it possible to

interact with a gaming simulation in a way that allows a user’s actions, coupled with the simulated

environment to alter the simulation itself. The claims of the ‘241 patent thus specify how input,

output, and system devices are manipulated to yield a unique gaming simulation experience based

on the actions of the user.

        24.      The technology claimed in the ‘241 patent does not preempt all ways of using gaming

simulation technology, nor preempt the use of any well-known gaming simulation technology, nor

preempt any other well-known or prior art technology.

        25.      The claims of the ‘241 patent are not directed to any “method of organizing human

activity,” “fundamental economic practice long prevalent in our system of commerce,” nor are any

of the claims “a building block of the modern economy.”

        26.      The claims of the ‘241 patent are directed toward a solution rooted in computer

technology and uses technology, unique to computers and networks, to overcome a problem

specifically arising in the realm of gaming simulations.

        27.      The claims of the ‘241 patent are not directed at a mere mathematical relationship or

formula.

        28.      The claims of the ‘241 patent cannot be performed by a human, in the human mind,
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or by pen and paper.

         29.      Accordingly, each claim of the ‘241 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

                                     COUNT I
                (INFRINGEMENT OF UNITED STATES PATENT NO. 10,046,241)


         30.      Plaintiff incorporates paragraphs 1 through 30 herein by reference.

         31.      Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 15, of the ‘241 Patent by making, using, importing,

selling, and/or offers for sale non-downloadable online simulation software for the purpose of

competitive racing covered by one or more claims of the ‘241 Patent. Defendant has infringed

and continues to infringe the ‘241 Patent directly and/or by inducement in violation of 35 U.S.C.

§ 271.

         32.      Defendant sells, offers to sell, and/or uses at least one online simulation software

product for the purpose of competitive racing including, without limitation, a temperature

sensitive subroutine which modifies behavior of the simulation, any associated hardware and

software, and any similar products (collectively, “Product”), which infringe at least Claim 15 of

the ‘241 Patent.

         33.      The Product provides a system that is at least partially hardware. Certain aspects

of this element are illustrated in the screenshot below and/or those provided in connection with

other allegations herein.
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   Source: https://www.iracing.com/track-technology/



          34.      The Product includes an identification component to identify a change in a

temperature of a racing surface in a racing video game. Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




   Source: https://www.iracing.com/iracing-developer-blog-s4-updates-to-the-dynamic-track-

   model/

          35.      The Product uses a determination component configured to determine an impact

of the change in the temperature of the racing surface. Certain aspects of this element are
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illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




   Source: https://www.youtube.com/watch?v=brsWYP0JBx0




   Source: https://www.iracing.com/track-technology/



          36.      The Product comprises a modification component configured to make an

alteration to the racing surface in accordance with the impact of the change in the temperature.
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Certain aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




Source: https://www.bsimracing.com/iracing-dynamic-tracks-in-development/




Source: https://www.iracing.com/track-technology/



       37.      The modification component of the Product also influences the performance if a

vehicle in the racing video game.       Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.
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Source: https://www.youtube.com/watch?v=yCUeNattOzQ




Source: https://www.iracing.com/lets-talk-about-hot-rubber/



       38.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       39.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       40.     Plaintiff is in compliance with 35 U.S.C. § 287.
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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)      Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)      Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 10,046,241 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)      Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)      Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)      Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.

Dated: September 9, 2021                          Respectfully submitted,

                                                  /s/ Brendan M. Shortell

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